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Cemee now lldmend L.indsey, Pre Se Appellent, pursuant to FI<`:‘-_fP and local rule

702 and asks this llonm'ehlc Ceurt to allow an exception 10 exceed the 310 page limit due
te the t`ect that A.ppellent is a Pm Se litigant end untrained in law and al:so due to time
censtreints. Appellent attempted to comply With the 20 page limit, but was unable 10.

Wherel`cre premise considered7 Ple,intift` pays that this _l-lenc)tabé.;: Ceurt will grant

Appellen\ permission to exceed the 20 page limit

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